






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00539-CV






In re H. S. J.






ORIGINAL PROCEEDING FROM BELL COUNTY





M E M O R A N D U M   O P I N I O N


	Relator has filed a motion for an emergency stay and petition for writ of mandamus.  See
Tex.&nbsp;R. App. P. 52.8, 52.10.  Having reviewed the petition, motion, response, and record, we deny
the petition for writ of mandamus and motion for emergency relief.



						__________________________________________

						David Puryear, Justice

Before Justices Puryear, Rose and Goodwin

Filed:   August 31, 2011


